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                                                  No. 24-7246
                                 UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT

                          UNION GOSPEL MISSION OF YAKIMA, WASHINGTON,
                                                       Plaintiff-Appellee,

                                                       v.

                    ROBERT FERGUSON, in his official capacity as Attorney General of
               Washington, ANDRETA ARMSTRONG, in her official capacity as Executive
              Director of the Washington State Human Rights Commission; and GUADALUPE
              GAMBOA, HAN TRAN, JEFF SBAIH, LUC JASMIN, and CHELSEA DIMAS,
                in their official capacities as Commissioners of the Washington State Human
                                               Rights Commission,
                                                                  Defendants-Appellants.


                         ON APPEAL FROM THEUNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WASHINGTON AT YAKIMA
                                         No. 1:23-cv-3027-MKD
                                      The Honorable Mary K. Dimke
                                     United States District Court Judge

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                                                  ROBERT W. FERGUSON
                                                   Attorney General

                                                  CYNTHIA L. ALEXANDER, WSBA 46019
                                                  TERA M. HEINTZ, WSBA 54921
                                                    Deputy Solicitors General
                                                  1125 Washington St SE
                                                  Olympia, WA 98504
                                                  Cynthia.Alexander@atg.wa.gov
                                                  Tera.Heintz@atg.wa.gov
                                                  (206) 326-5488
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